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                        UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ALABAMA
                             SOUTHERN DIVISION


 DOMINICK RUSSO; JAMES RUSSO; FFC                                 Civil Action No.
 SEAFOOD, INC.,                                                1:24-cv-00186-WS-M

                                Plaintiffs,
       v.

 GINA RAIMONDO, in her official capacity as
 Secretary of the United States Department of
 Commerce; JANET COIT, in her official capacity as
 Assistant Administrator for Fisheries; and
 NATIONAL MARINE FISHERIES SERVICE,

                                  Defendants.




                PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                          INTRODUCTION

        The Framers designed Article II as a unity. The executive power—all of it—is vested in

the President. This unity ensures accountability to the people. All power must be exercised, directly

or indirectly, by the People’s elected representative. Article II guarantees “Energy in the

Executive,” an “essential” characteristic of good government for “the protection of the community

against foreign attacks . . .[ ] the steady administration of the laws, [ ] the protection of property . .

.[ ] justice; [and] [ ] the security of liberty . . . .” The Federalist No. 70 (Alexander Hamilton). The

unity of the executive is protected by the Appointments Clause and by the President’s power to

remove executive officers. When executive officials circumvent this unity, government

accountability to the people and individual freedom suffers.

        Plaintiffs James and Dominick Russo are commercial fishermen. They fish for gag grouper

off the Florida coast. In June 2023, the Gulf of Mexico Fishery Management Council voted to

enact Amendment 56 along with a proposed implementing rule, seeking to restrict the amount of

gag grouper fishermen can catch each season. The National Marine Fisheries Service (“NMFS”)

implemented Amendment 56 and its accompanying regulation by final rule on June 1, 2024,

imposing an approximately 85% decrease in the commercial catch limit for gag grouper. 89 Fed.

Reg. 40,419 (May 10, 2024) (“Final Rule”).

        The Council is established by the Magnuson-Stevens Fishery Conservation and

Management Act. 16 U.S.C. §§ 1801–1891d (the “Magnuson-Stevens Act” or “Act”). It is an

independent policymaking body that manages fisheries in a region of federal waters. The Council

has 17 voting members, but all are unconstitutionally appointed.

        Without constitutionally appointed officers, the Council’s vote on Amendment 56 and its

implementing rule were unlawful and NMFS lacked the authority to enact the Final Rule.




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        Officers of the United States must be appointed in accord with the Appointments Clause.

Council members are officers because they wield significant, and often unreviewable, power to

make fishery policy for the Gulf Coast region. But Council members are a mish-mash of

gubernatorial nominees, state officeholders, and a career federal civil servant, none of which

satisfy the Appointments Clause. The Council’s actions in enacting Amendment 56 and its

implementing rule are therefore void, and NMFS should have rejected the measures as unlawful

or declined to act on them. Instead, it unlawfully approved both measures and promulgated the

Rule.

        The Rule is also invalid because the Council members are improperly insulated from

presidential removal. Article II vests the President with the power to remove his officers at will,

yet Council members enjoy extraordinarily strong removal protections. Council members’

removal protections render their offices unconstitutionally structured and their adoption of

Amendment 56 and the Rule unlawful. Thus, as with the appointment defect, NMFS lacked

authority to enact the implementing rule.

        Because NMFS lacked the authority to promulgate the Rule, the Court should set it aside. 1

                                 FACTUAL BACKGROUND

        James and Dominick Russo are fishermen who own and operate FFC Seafood, a

commercial fishing business located in Sarasota, Florida. Declaration of Dominick Russo ¶ 3;

Declaration of James Russo ¶ 3 (collectively, “Declarations”). They run two commercial fishing

boats and possess the vessel, gear, and permit necessary to fish for gag grouper. Declarations ¶ 4.




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  Due to the complexity of the statute and importance of the constitutional issues, Plaintiffs
respectfully request that the Court hold a hearing after briefing concludes. See § 1855(f)(4); N.C.
Fisheries Ass’n, Inc. v. Gutierrez, 518 F. Supp. 2d 62, 72 (D.D.C. 2007) (“If the party challenging
the Secretary’s action so requests, the court is obliged to hold a hearing . . . .”).

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They work in fisheries managed by the Council. Declarations ¶ 2. They have fished for gag grouper

in the past, are fishing for gag grouper this year, and plan to fish for gag grouper in the future.

Declarations ¶ 5.

       But the Gulf of Mexico Fishery Management Council adopted Amendment 56 and the Rule

that implements the Amendment, proposing significant quota reductions on gag grouper.

Declarations ¶ 7. And NMFS promulgated the Final Rule. Declarations ¶ 8. Amendment 56 and

the Rule lowered the total gag grouper catch limit, cutting Plaintiffs’ catch for gag grouper by

approximately 85%. Id. Plaintiffs would fish for more gag grouper than the allotted quota this year

and in the future but for the Final Rule’s quota reduction. Declarations ¶¶ 13–18.

                                     LEGAL BACKGROUND

       I.    The Magnuson-Stevens Act and the Gulf of Mexico Fishery
             Management Council

       The United States regulates ocean fisheries from the state seaward boundary to 200 nautical

miles offshore. See 43 U.S.C. § 1312; 16 U.S.C. § 1856(a)(1). Federal fisheries are regulated

principally through the Magnuson-Stevens Act. 16 U.S.C. §§ 1801–1891d.

       The Act creates eight regional Councils as independent bodies within the Executive Branch

that set fisheries policy for federal waters. § 1852(a). The Councils are charged with preparing

fishery management plans (“FMPs”) and FMP amendments, § 1852(h)(1), consistent with ten

National Standards, see § 1851(a).

       The Act protects each Council’s policymaking power. It expressly states that any

guidelines developed by the Secretary regarding National Standards “shall not have the force and

effect of law.” § 1851(b). Thus, Councils are limited only by the National Standards and applicable

law. And Councils propose regulations to implement FMPs and amendments. § 1853(c). The Act

created the Gulf of Mexico Fishery Management Council (“The Council”) and gave it “authority



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over the fisheries in the Gulf of Mexico seaward of” Texas, Louisiana, Mississippi, Alabama, and

Florida. § 1852(a)(1)(E).

       The Council has 17 seats. Five seats are filled by the five respective governors with each

state’s “principal State official with marine fishery management responsibility.” § 1852(b0(1)(A).

One seat is taken by “[t]he regional director of the National Marine Fisheries Service” for the Gulf

of Mexico, the Southeast Regional Administrator. § 1852(b)(1)(B). The Southeast Regional

Administrator is a career employee in the Senior Executive Service (SES). AR11584–85. The

regional director and the governor designees can fill their seats with their own designees.

§ 1852(b)(1)(A)–(B). Five of these seats on the Council were filled by further designees at the time

the Council voted on Amendment 56. AR012007; 012010; 012014; 012017; 012019.

       For the final eleven seats, the five state governors nominate at least three individuals for

each vacancy. The Secretary must make her selection for these vacancies from these nominees,

unless one does not satisfy statutory qualifications. In that case, the Secretary must await a

qualified slate of nominees from the governor and make her selection therefrom. § 1852(b)(2)(C).

She cannot select her own qualified appointee.

       The Act creates a two-step rulemaking procedure. First, the Council adopts a fishery

management plan (“FMP”) or an amendment to such a plan. § 1854(a)(1). The measure is reviewed

by the Secretary of Commerce for consistency with statutory factors and “other applicable law.”

§ 1854(a)(1)(A). If the plan or amendment is lawful, the Secretary must approve it; if she fails to

act within 30 days, the measure “take[s] effect as if approved.” § 1854(a)(3).

       Second, the Council adopts a regulation to implement the plan or amendment.

§ 1854(b)(1). Again, the Secretary reviews the regulation for lawfulness and, if it is lawful, must

approve and promulgate it. Id.




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       The Secretary has delegated her authority under the Act to the Administrator of the

National Oceanic and Atmospheric Administration (“NOAA”). AR011558–011561. The NOAA

Administrator has in turn delegated that authority to the Assistant Administrator for Fisheries, who

leads the National Marine Fisheries Service (“NMFS”), a component agency of NOAA.

AR011571. Accordingly, the Assistant Administrator for Fisheries conducts the secretarial review

under the Act’s two-step rulemaking process. Cf. § 1854(a)–(b).

       II.   Amendment 56 and the Rule

       In June 2023, fourteen of the fifteen present putative Council members initiated the two-

step rulemaking by approving Amendment 56. AR005302. The putative Council members also

approved a rule implementing Amendment 56, AR10168, which NMFS approved as lawful,

AR11423; AR11429.

       In the meantime, the Council requested NMFS implement interim measures to reduce gag

grouper stock acceptable catch limit (“ACL”) from 3.12 million pounds to 661,901 pounds for

2023. AR002005–002027. NMFS implemented interim measures through a temporary rule

effective on May 3, 2023. 88 Fed. Reg. 27,701 (May 3, 2023).

       On April 26, 2024, the Assistant Administrator for Fisheries approved Amendment 56,

AR011423, and the approval was memorialized in a decision memorandum, AR11425–29. On

May 10, 2024, NMFS published the Final Rule implementing Amendment 56. Id. Amendment 56

and the Rule reduced the commercial catch limit for gag grouper by approximately 85%. Id.

       Originally, the total acceptable catch limit was 3,120,000 lbs. and the commercial

allocation was 39%, coming out to 1,217,000 lbs. 88 Fed. Reg. at 27,707; 89 Fed. Reg. at 40,420.

During the interim period, the total acceptable catch limit was 661,901 lbs. and the commercial

allocation remained at 39%, coming out to 258,000 lbs. 88 Fed. Reg. at 27,702. After Amendment




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56 and the Rule went into effect, the total acceptable catch limit was cut to 444,000 lbs. and the

commercial allocation was set to 35%, coming out to 155,000 lbs. 89 Fed. Reg. at 40,421.

       Commercial fishing for gag grouper is managed under an individual fishing quota (“IFQ”).

89 Fed. Reg. at 40,419. That means that individuals hold shares of the commercial fishing quota,

such that the commercial quota is distributed amongst those holding IFQ shares, proportionate to

the shares they hold. Thus, when the commercial catch limit is reduced, commercial fishermen’s

individual quotas are reduced in proportion.

                                           ARGUMENT

       I.    Plaintiffs have standing

       Amendment 56 and the Rule injure Dominick and James by reducing the amount of gag

grouper they can catch each season. The elements of standing are (1) an injury in fact, (2) that is

fairly traceable to the challenged conduct of the defendant, and (3) that is likely to be redressed by

a favorable judicial decision. Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016).

       Dominick and James are commercial fishermen who fish for gag grouper. The Rule’s

reallocations injure the fishermen by reducing the amount of gag grouper they can catch and

thereby reducing their income. See generally Declarations ¶¶ 8–27. That injury is traceable to the

Defendants’ promulgation of the Rule. See 89 Fed. Reg. 40,419. And the injury is redressable

because the Court must vacate the Rule if, as the Plaintiffs allege, Defendants lacked authority to

issue the Rule. 16 U.S.C. § 1855(f)(1); 5 U.S.C. § 706. Thus, standing is satisfied. See Lofstad v.

Raimondo, 117 F.4th 493, 497–98 (3d Cir. 2024) (holding that fishermen had standing to challenge

improper appointment of Council members).




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       II.    The Secretary’s rulemaking power under the Magnuson-Stevens Act
              is conditioned on the Council validly adopting an FMP or amendment and
              regulation

       NMFS issued the Rule under 16 U.S.C. § 1854(b). See 88 Fed. Reg. at 39,198 (discussing

“section 304(b)(3) of the Magnuson-Stevens Act”). That provision conditions the Secretary’s (and

so NMFS’s) rulemaking power on satisfying a statutory prerequisite: for the Secretary to

promulgate a regulation, it must have first been validly adopted by the Council. Furthermore, the

regulation must be supported by an FMP or FMP amendment validly adopted by the Council. See

16 U.S.C. § 1854(b) (allowing promulgation of a regulation adopted by the Council under 16

U.S.C. § 1853(c)); § 1853(c) (empowering Council to adopt regulations to implement an FMP or

FMP amendment). In the absence of a valid, Council-adopted regulation and FMP or FMP

amendment, § 1854(b) does not allow the Secretary to issue any rules. In such circumstances, the

Secretary’s rulemaking power is restricted to conditions and procedures not followed here. See,

e.g., § 1854(c).2

       As explained below, the Council members were not validly appointed and therefore

Amendment 56 and the Rule were not and could not be validly adopted by the Council.

       III. Council members must be appointed under the Appointments Clause

       Gulf Council members must be constitutionally appointed but they were not. They make

fishery policy for an entire region subject only to a limited lawfulness review by a secretarial

proxy. The Council’s adoption of Amendment 56 and its implementing rule was unlawful;

therefore, NMFS could not legally issue the implementing rule.




2
 Moreover, the government cannot now rely on the Secretary’s unilateral rulemaking power, as it
was not invoked when the Rule was promulgated. DHS v. Regents of the Univ. of Cal., 591 U.S.
1, 20–22 (2020).

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              A. The Appointments Clause prescribes the constitutional method for
                 appointing Officers of the United States

        The President of the United States is vested with the Executive Power and the obligation

to take care that the laws be faithfully executed. Art. II, §§ 1, 3. To do so, he relies on subordinate

officers for assistance. United States v. Arthrex, Inc., 594 U.S. 1, 11 (2021). The Appointments

Clause governs the selection of these subordinate officers. The Clause provides

        [The President] shall have Power [to] nominate, and by and with the Advice and
        Consent of the Senate, shall appoint Ambassadors, other public Ministers and
        Consuls, Judges of the supreme Court, and all other Officers of the United States,
        whose Appointments are not herein otherwise provided for, and which shall be
        established by Law: but the Congress may by Law vest the Appointment of such
        inferior Officers, as they think proper, in the President alone, in the Courts of Law,
        or in the Heads of Departments.

U.S. Const., art II, § 2, cl. 2.

        Thus, from the apex of the people’s elected President on down, subordinate officers

exercise power through “a clear and effective chain of command.” Arthrex, 594 U.S. at 11–12

(quoting Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 498 (2010)). James

Madison extolled this “great principle of unity and responsibility in the Executive department,”

which ensures that “the chain of dependence [will] be preserved; the lowest officers, the middle

grade, and the highest, will depend, as they ought, on the President, and the President on the

community.” Arthrex, 594 U.S. at 11 (citing 1 Annals of Cong. 499 (1789)). The Founders

designed the Appointments Clause in this manner as a “reaction to ‘one of [their] generation’s

greatest grievances against [pre-Revolutionary] executive power,’ the manipulation of

appointments.” Fin. Oversight & Mgmt. Bd. for Puerto Rico v. Aurelius Inv., LLC, 590 U.S. 448,

457 (2020) (quoting Freytag v. Comm’r, 501 U.S. 868, 883 (1991)).

        On guard against manipulation, the Framers concentrated and dispersed the power of

appointment. First, they concentrated the appointment power in the hands of a single President.


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Edmond v. United States, 520 U.S. 651, 659 (1997). Second, they dispersed the power, requiring

advice and consent by the Senate. NLRB v. SW General, Inc., 580 U.S. 288, 293–94 (2017). These

twin columns ensure those who exercise the power of appointment remain accountable to the

people. The President must bear the weight of a bad nomination, the Senate, for rejecting a good

one. Fin. Oversight & Mgmt. Bd. for Puerto Rico, 590 U.S. at 457; see also Federalist No. 77

(Alexander Hamilton) (“The blame of a bad nomination would fall upon the President singly and

absolutely. The censure of rejecting a good one would lie entirely at the door of the Senate[.]”). In

short, the Appointment’s Clause guarantees officer accountability to the President and ultimately

to the people.

       The Appointments Clause applies only to “Officers of the United States.” U.S. Const. art.

II, § 2, cl. 2. Anyone who wields “significant” federal power is an officer of the United States and

must “be appointed in the manner prescribed by [the Appointments Clause].” Buckley v. Valeo,

424 U.S. 1, 126 (1976). An officer exercises significant authority if “in the course of carrying out

. . . important functions, [the official] exercise[s] significant discretion.” Lucia v. SEC, 585 U.S.

237, 247 (2018) (internal quotation marks omitted). Among those that the Supreme Court has

determined to be officers are not only heads of agencies but also postmasters first class, district

court clerks, and election supervisors. Buckley, 424 U.S. at 126; Edmond, 520 U.S. at 661

(discussing Ex parte Siebold, 100 U.S. 371 (1879)).

       Officers are subdivided into principal and inferior officers. Principal and inferior officers

are differentiated by whether the officer “is directed and supervised at some level by others who

were appointed by Presidential nomination with the advice and consent of the Senate.” Edmond,

520 U.S. at 663. The inquiry is “how much power an officer exercises free from control by a

superior.” Arthrex, 594 U.S. at 17. Inferior officers are those who are adequately controlled by a




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Senate-confirmed officer. Free Enter. Fund, 561 U.S. at 510 (citing Edmond, 520 U.S. at 662–

663). All other officers are principal officers. Arthrex, 594 U.S. at 12. Principal offices may be

filled only by Presidential nomination and Senate confirmation. That is also the default method for

filling inferior offices. Edmond, 520 U.S. at 660. But if Congress provides “by Law,” the

appointment of an inferior office may be vested in the President, a head of department, or a court

of law. Id.

        When an individual’s selection does not conform to the Appointments Clause, his

“appointment . . . to office is deficient,” and he acts only “under the color of official title.” Ryder

v. United States, 515 U.S. 177, 180 (1995). An unconstitutional appointment provision “is never

really part of the body of governing law (because the Constitution automatically displaces any

conflicting statutory provision from the moment of the provision’s enactment).” Collins v. Yellen,

594 U.S. 220, 259 (2021). With the provision displaced, the appointments are invalid, and those

officers “lack[] the authority to carry out the functions of the office.” Id. at 258. Therefore, their

actions are “void” as actions of their putative offices. Id. at 257.

              B. The Council members serve in continuing positions

        A position must be “continuing” to qualify as an office and trigger application of the

Appointments Clause. See Lucia, 585 U.S. at 245. Council seats are continuing. They are “created

by statute, down to [their] duties, salary, and means of appointment.” Id. at 248 (simplified); see

§ 1852(d) (setting compensation). They are permanent positions; no law provides for the sunset or

other termination of these Council positions. § 1852(a)(1) (“There shall be established” the

Council positions). Their duties are also continuing, in that a Council is responsible at all times for

managing fisheries in its geographical jurisdiction. § 1852(a)(1)(E).




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              C. An officer exercises significant federal authority if the officer exercises
                 significant discretion in carrying out important functions

        An officer is an official with significant federal authority. Lucia, 585 U.S. at 245–46. For

an official to possess significant authority, it is sufficient that “in the course of carrying out . . .

important functions, the [official] exercise[s] significant discretion.” Id. at 247 (simplified).

        The Supreme Court defined significant authority in Freytag v. Commissioner, which held

that the Tax Court’s Special Trial Judges (“STJs”) exercise significant authority and must be

appointed as officers. Tax cases are assigned to Tax Court Judges who may be assisted by STJs.

See Freytag, 501 U.S. at 870–71. STJs are empowered to preside over two categories of cases. In

one category of cases, STJs can “not only [ ] hear and report on a case but also [ ] decide it.” Id. at

873. In the second category of cases, called (b)(4) cases, STJs can “only [ ] hear the case and

prepare proposed findings and an opinion.” Id. In (b)(4) cases, STJs “could not issue the final

decision.” Lucia, 585 U.S. at 246 (describing Freytag); Freytag, 501 U.S. at 873–74. But they

“prepar[ed] the proposed findings and opinion” for a Tax Court Judge, who then ruled on the case.

Freytag, 501 U.S. at 880. An STJ’s “opinion counts for nothing unless the regular judge adopts it

as his own.” Lucia, 585 U.S. at 249. Even so, they could “take testimony, conduct trials, rule on

the admissibility of evidence, and have the power to enforce compliance with discovery orders.”

Freytag, 501 U.S. at 881–82. It followed that STJs exercised “significant discretion” in carrying

out these “important functions,” and thus STJs possessed significant authority and required

appointment as officers. Id. at 882.

        The Court followed Freytag in Lucia. The Court held that SEC administrative law judges

(“ALJs”) exercise significant authority. ALJs have the same powers as STJs to preside over cases

and “critically shape the administrative record.” Lucia, 585 U.S. at 248. But ALJs have more

significant authority than STJs. Whereas STJ’s (b)(4) decisions must be reviewed by a Tax Court



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Judge, “the SEC can decide against reviewing an ALJ decision at all,” rendering an ALJ decision

the final action of the Commission. See id. at 249 (quoting 17 C.F.R. § 201.360). The Court thus

held that SEC ALJs must be appointed as officers.

        And Buckley v. Valeo demonstrated that significant authority is not a particularly high bar.

In establishing the significant-authority requirement, the Court reaffirmed past decisions that even

postmasters first class and district court clerks must be appointed as officers. The Court stated that

“[i]f a postmaster first class and the clerk of a district court are . . . officers of the United States

within the meaning of the Appointments Clause, as they are, surely the [FEC] Commissioners

before us are” officers as well. 424 U.S. 1, 126 (1976) (citations omitted and emphasis added). In

other words, an officer holds significant authority if his authority is greater than a postmaster first

class or a district court clerk.

        Foreshadowing Freytag’s (b)(4) analysis, Buckley held that even the FEC’s power to issue

advisory opinions is a significant power because that power does not “operate[ ] merely in aid of

congressional authority to legislate” and is not “sufficiently removed from the administration and

enforcement of public law.” Id. at 141. Indeed, the Court characterized officers as all officials

“exercising responsibility under the public laws of the Nation.” Id. at 131.

        As these cases demonstrate, courts examine the full scope of an official’s authority, not

just the powers exercised in a particular case, to determine the official’s officer status. If an official

possesses any significant powers, even ones not exercised with respect to the challenged action,

the official is an officer for all assigned duties and is subject to the Constitution’s constraints.

That’s because “it ma[kes] no sense to classify [officials] as officers for some cases and employees

for others.” Lucia, 585 U.S. at 247 n.4. “If a[n] [official] is an . . . officer for purposes of [some of




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his duties], he is an . . . officer within the meaning of the Appointments Clause and he must be

properly appointed.” Freytag, 501 U.S. at 882.

              D. The Council exercises significant authority

        The Council not only exercises significant discretion in carrying out important functions,

but it also has the final, unreviewable word across a range of issues.

        The Council’s powers fall into two categories: its powers within the two-step rulemaking

process, and its powers outside that process.

                 1. The Council’s two-step rulemaking powers are significant

        The Council exercises significant powers within the two-step rulemaking process. First,

the Council has exclusive policymaking power over Gulf fisheries in federal waters. Second, the

Council decides when the rulemaking process starts; NMFS cannot act until the Council initiates

the process. Third, Council decisions have independent, final effect. Fourth, the Council assembles

the record for fishery policies and their lawfulness review by the Secretary or her delegate. This

constellation of powers vested in and exercised by the Council unquestionably amounts to

significant authority.

        First, the Council has exclusive policymaking power over Gulf of Mexico fisheries in

federal waters. The Council has power to set federal fisheries policy. As NMFS’s top regulatory

official, Deputy Assistant Administrator for Regulatory Programs Sam Rauch, stated, the Council

“is basically a mini legislative body” that decides “who, when, and where people get to fish.” Ruth

Sando, Rauch, Sam ~ Oral History Interview, Voices from the Fisheries, NMFS, NOAA, 15, 19,

(June   30,   2016),     https://voices.nmfs.noaa.gov/sites/default/files/2018-09/rauch_samuel.pdf.




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(“Rauch”).3 The Council exercises this power through fishery management plans and plan

amendments, in which Council members decide “the conservation and management measures” to

be employed in the fishery, the amount of fishing permitted, the kinds of permits and fees required,

the triggers for fishery closures, and much more. §§ 1852(h)(1); 1853(a)–(b).

        If the Council’s policy is lawful, it becomes law. After adopting an FMP or amendment,

the Council submits the measure to NMFS, which reviews it for consistency with law. § 1854(a).

NMFS must approve any Council FMP or amendment that does not violate the law. § 1854(a)(1),

(3). If NMFS disapproves a measure, it must explain how the measure conflicts with law.

§ 1854(a)(3). NMFS cannot reject an FMP or amendment on policy grounds. In addition, if NMFS

fails to act on an FMP or amendment within an allotted time, “then such plan or amendment shall

take effect as if approved.” Id. Thus, Council members “can bind the Executive Branch and have

some ‘last-word’ authority.” Arnesen v. Raimondo, No. 1:23-cv-145-TBM-RPM & No. 1:23-cv-

160-TBM-RPM, 2024 WL 377820, at *13 (S.D. Miss. Jan. 31, 2024) (citing Lucia, 585 U.S. at

249).

        The Council also possesses power to propose any regulation it “deems necessary or

appropriate” to implement an FMP. § 1853(c). But again, any proposal that is lawful becomes law

and if the proposed regulation is unlawful, NMFS must return it to the Council for revision. See

§ 1854(b).

        The Council exercises significant authority in promulgating FMPs, FMP amendments, and

proposed regulations. In doing so, Council members set policy, including whether to restrict and

even permanently close fisheries. These policies inflict a high impact on the livelihoods of



3
  This interview is not part of the Administrative Record and is cited, not as evidence of a factual
claim, but as one would cite a law review article: for its legal conclusion and apt wording.



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fishermen and their communities. The Council’s power is much broader, more discretionary, and

more coercive than that of the Freytag and Lucia adjudicators. Those adjudicators took evidence

and proposed resolutions to discrete cases affecting a handful of parties. The Council’s policies

affect all fishermen in an entire region. If the adjudicators in Freytag and Lucia are officers, “as

they are, surely” Council members are officers too. Buckley, 424 U.S. at 126.

       The Secretary, through NMFS, can block FMPs, amendments, and proposed regulations

only for a conflict with “applicable law,” § 1854(a)(1)(A), (b)(1), so the Council has the final,

unreviewable power to choose from the lawful policy options and cast them into law. NMFS

merely verifies that a measure is lawful before it goes out the door. § 1854(a)(3), (b). As Mr. Rauch

put it, NMFS “ultimately issue[s] the regulations . . . because it resolves what [the Councils] do as

legal,” but “they really drive the system.” Rauch, supra, at 15. “[NMFS] basically are the auditors

of that system.” Id. Section 1854 empowers the Council to call the shots within the wide range of

lawful policy choices. And, according to the Supreme Court, when an executive official is not

checked by another “on matters of law as well as policy,” the official is a principal officer, as

discussed later—and so necessarily an officer. Arthrex, 594 U.S. at 18 (emphasis added).

       The Council need not take the final step of promulgating the regulation to have significant

authority. Freytag is analogous. There, STJs could do everything a judicial officer could do,

including recommending a final decision, but the STJ could not render the final decision because

it was subject to review by the Tax Judge. Here, the Council can do everything to make policy

including adopting an FMP, amendment, or regulation, but the Council does not issue the final




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rule because it is subject to NMFS review. STJs exercised substantial authority and had to be

appointed. So too must Council members. 4

       Second, if NMFS would like to pass a policy, it must obtain the Council’s agreement,

because the two-step rulemaking process requires both the Council and NMFS to approve a policy

for it to become effective. § 1854(a)–(b). 5 As a result, the Council can thwart NMFS’s policy

preferences. And unlike NMFS’s power to block Council actions, the Council may refuse to adopt

NMFS’s preferred fisheries measures on policy grounds, not just for unlawfulness. Furthermore,

NMFS must wait for the Council to begin the process by “transmit[ting] . . . a fishery management

plan or plan amendment” or “proposed regulations” to NMFS. § 1854(a)(1), (b)(1). Thus, the

Council has significant discretion in performing the important function of crafting FMPs,

amendments, and regulations in the first instance—and whether to allow NMFS’s preferred

measures. §§ 1852(h)(1), 1853(c). And having significant discretion in performing important

functions is all it means to have significant authority. Lucia, 585 U.S. at 238.

       Third, the Council’s decisions—both in adopting FMPs and amendments and in adopting

regulations—have independent effect.

       The Council writes FMPs and amendments, while NMFS can only approve or disapprove

such a measure. § 1854(a)(3). If NMFS decides not to block an FMP or amendment, it is the

Council’s action that becomes effective as written. The Council is thus like the ALJ in Lucia. The

ALJ’s decision “bec[ame] final and [ ] deemed the action of the Commission” if the SEC




4
 And the Council’s power is even more significant than the STJs because, as explained below, the
Council’s FMPs and amendments can become final even without NMFS approval. Supra at p. 17.
5
  NMFS’s unilateral rulemaking powers are usually limited to instances where a Council fails to
act, so they do not come into play so long as the Council actively takes part in rulemaking.
§ 1854(c).

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“decline[d] review (and issue[d] an order saying so).” Lucia, 585 U.S. at 249 (simplified). Like

the Council, the ALJ’s decisions could have “independent effect.” Id. at 248–49.

       In fact, the Council’s actions have an even more independent effect than the ALJ’s

decisions. Id. at 249–50. An ALJ decision required SEC to enter an order effectively adopting the

decision to give it final effect. The Council’s FMP or amendment becomes final by default if the

Secretary simply fails to act on it. § 1854(a)(3).

       When the Council’s FMPs go into effect, including by default, they have a significant

impact on the balance of federal and state power. Section 1856(a)(3)(A) permits states to regulate

their fishermen only if there is no applicable FMP or if a state’s regulations are consistent with an

applicable FMP and regulations. This effect occurs as soon as an FMP or amendment goes into

effect; the effect is not dependent on the promulgation of an implementing regulation.

       The Council’s power to propose regulations has a similar independent effect. The Council

proposes regulations in the first instance. If NMFS approves a regulation, it is promulgated and

becomes final, creating the same “independent effect” as a Lucia ALJ decision when the SEC

declined review. Although NMFS may revise proposed regulations within 30 days after the notice-

and-comment period, § 1854(b)(3), revisions must be limited, because an implementing regulation

must be consistent with an FMP or FMP amendment. See § 1854(b)(1); 1853(c). And FMPs and

amendments are typically highly detailed and leave little room for alteration. Here, for example,

Amendment 56 itself specified all of the quota reductions and reallocations that injure Plaintiffs.

See AR10167–68 (memorandum from Council to NMFS summarizing Amendment 56);

AR10169–10425 (formal Amendment 56).

       Moreover, NMFS can only revise a regulation if it first “consult[s] with the Council.” See

§ 1854(b)(3). In the absence of consultation within 30 days, NMFS “shall” issue the regulation as




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a final rule. Id. And the Council can deny consultation for that 30-day period and force the

Secretary to publish the rule as is. See Oceana, Inc. v. Ross, No. 17-cv-5146, Docket No. 124, at

8–9 (C.D. Cal. Nov. 18, 2019) (government brief) (“NMFS has repeatedly attempted to consult

with the Pacific Council,” but “NMFS lacks the authority to compel the independent Pacific

Council to place this item on its agenda or deliberate further on this subject.”). In 2020, a Council

did just that and forced NMFS to promulgate a regulation over the agency’s objections. See 85

Fed. Reg. 7246, 7247 (Feb. 7, 2020) (stating that NMFS published the rule because it was not able

to consult with the Council in time, such that NMFS was unable to withdraw or revise the rule).

       Fourth, the Council assembles the record. Even in the absence of the Council’s independent

policy-making power, the Council still wields significant authority because it shapes the

administrative record on which any final decision must be based. Cf. Del. Dep’t of Nat. Res. &

Env’t Control v. U.S. Army Corp of Eng’rs, 722 F. Supp. 2d 535, 542 (D. Del. 2010) (An

administrative record consists of the materials that were “directly or indirectly considered” by an

agency taking an action. (simplified)); accord Thompson v. U.S. Dep’t of Labor, 885 F.2d 551,

555 (9th Cir. 1989).

       In Freytag, an STJ’s recommendatory decision still amounted to significant authority

because it shaped the administrative record on which a final decision would be based. See Lucia,

585 U.S. at 248–49; Freytag, 501 U.S. at 874. Like STJs, the Council critically shapes the

administrative record for proposed fishery measures. When adopting an FMP or amendment, the

Magnuson-Stevens Act requires the Council to specify every relevant detail, including “the

number of vessels” in the fishery, “the type and quantity of fishing gear used,” the type of fish at

issue, “the present and probable future condition of . . . the fishery,” the likely costs of management

measures, those measures’ “cumulative conservation, economic, and social impacts,” relevant




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“economic information,” the presence of essential fish habitat, the “scientific data which is needed

for effective implementation of the plan,” and numerous other types of information. § 1853(a).

The Council also shapes the record by collecting comments from the public, § 1852(h)(3), and

reports from its various advisory committees and panels, § 1852(g)(1)–(3). Under Freytag, this is

significant authority requiring appointment as officers.

                   2. The Council’s powers outside the two-step rulemaking process are
                      significant

          The discussion above concerns only the Council’s powers within the two-step rulemaking

process of § 1854(a)–(b). The Council’s powers outside that process are also significant. Indeed,

they empower the Council to supervise and control the Secretary. See generally Lofstad, 117 F.4th

at 499.

          First, the Council may block the Secretary’s attempt to “repeal or revoke a fishery

management plan for a fishery under the authority of a Council.” § 1854(h). Even if the Secretary

invokes her power under § 1854(c), she cannot revoke an FMP unless a three-quarters

supermajority of the Council grants permission. § 1854(h). Thus, a small minority of the Council

can block the action—and for any reason, not just illegality. Id. The Council exercises significant

discretion in carrying out this important power. And its decision is unreviewable.

          As discussed above, whether to revoke an FMP is a significant authority with important

impacts on federalism. The Act provides that states may manage fisheries in federal waters if “there

is no fishery management plan or other applicable Federal fishing regulations for the fishery in

which the vessel is operating.” § 1856(a)(3)(A)(i). Otherwise, state regulations are subject to the

applicable FMP and regulations. § 1856(a)(3)(A)(ii). Thus, a Secretary seeking to return regulatory

policy to the states must seek the Council’s permission, giving the Council control over the balance

of power between the states and the federal government.



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       Second, the Council may block the Secretary’s attempt to delegate management to a state.

Under § 1856(a)(3)(B), the Secretary may do so “only if the Council approves the delegation . . .

by a three-quarters majority.” Again, the Secretary is placed in the position of seeking the

Council’s permission to act, which permission the Council may deny on any ground. And when a

state’s delegated management efforts are inconsistent with the FMP, the delegation is suspended

until the Secretary and the Council “find that the State has corrected the inconsistencies.”

§ 1856(a)(3)(B).

       Third, “the Secretary may not . . . establish[ ] a limited access system . . . unless such

system is first approved by a majority of the voting members” of the relevant Council.

§ 1854(c)(3). If the Secretary invokes her power to establish a limited access system, the Council

can block the Secretary’s action on policy grounds. The Council’s decision is unreviewable. Id.

That is significant discretion over an important function.

       Fourth, the Act empowers the Council to compel the Secretary to issue regulations. “[T]he

Secretary shall promulgate emergency regulations or interim measures . . . if the Council, by

unanimous vote of the . . . voting members,” “finds that an emergency exists or that interim

measures are needed to reduce overfishing.” § 1855(c)(2)(A) (emphasis added). The Council’s

decision cannot be reviewed. This places every member of the Council—including the Secretary’s

nominal subordinate, the NMFS Regional Administrator—in a position of commanding the

Secretary’s action. The Secretary’s mandatory compliance with the Council’s directive under

§ 1855(c)(2)(A) is underscored by the next subparagraph, which provides that “the Secretary may

promulgate emergency regulations” if the Council’s emergency determination is not unanimous.

§ 1855(c)(2)(B) (emphasis added).




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       Fifth, the Council has many other powers outside of the Magnuson-Stevens Act. For

example, it may compel the Secretary to collect certain information under the Marine Mammal

Protection Act. § 1383a(e)(4). It may forbid the Secretary from approving certain fishing permits

and force her to require permit conditions crafted by the Council. Pub. L. 104-43, 109 Stat. 366,

Title VII § 802 (Nov. 3, 1995). And it may make rules subject to secretarial approval under

§ 773c(c).

                                             *     *     *

       Each of these powers alone constitutes significant authority, being an important function

over which the Council exercises significant discretion. The combination of powers is, beyond

question, significant authority.

       IV. The putative Council members were not appointed pursuant to the
           Appointments Clause

       As officers, Council members may be appointed only under the Appointments Clause. But

the Council’s members were not properly appointed even though they are responsible for

Amendment 56 and its implementing regulation. They lacked the constitutional authority to adopt

the amendment and regulation. Both must be vacated. Ryder, 515 U.S. at 180; Collins, 594 U.S. at

258–60.

             A. The putative Council members were not properly appointed as principal
                officers

       The Council’s authority and independence render its members principal officers. But no

putative member was nominated by the President and confirmed by the Senate. Therefore, they

were not properly appointed. They lack the Council’s power.

       Principal officers are officers who do not qualify as inferior. Arthrex, 594 U.S. at 12. The

inquiry is “how much power an officer exercises free from control by a superior.” Id. at 17. “[T]he




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governing test” from Edmond for direction and supervision turns on three factors: whether a

Senate-confirmed official (1) exercises “administrative oversight” over the officer, (2) may

remove the officer without cause, and (3) “could review the [officer’s] decisions” before they

become final. Id. at 13–14, 16–18 Importantly, Arthrex held that if an officer has “the ‘power to

render a final decision on behalf of the United States’ without any . . . review by [a] principal

officer in the Executive Branch,” then the officer is necessarily a principal officer. Id. at 14.

       Under both tests, Council members are principal officers.

                 1. Under Edmond, Council members are principal officers and were not
                    properly appointed as such

       All three Edmond factors demonstrate that Council members are principal officers. First,

the Council is not subject to administrative oversight. Second, Council members are not removable

at will by a Senate-confirmed officer. Third, the Council’s policy decisions are not subject to

review by others in the Executive Branch.

       First, the Council is not subject to administrative oversight. By statute, the Council sets its

own priorities, establishes and directs its own staff, and creates its own operating procedures.

§ 1852(e)–(i). No official controls what FMPs, FMP amendments, or implementing regulations

the Council adopts. In fact, the Magnuson-Stevens Act prohibits interference by the Secretary,

allowing her only to “assist” in the formulation of FMPs by “establish[ing] advisory guidelines”

that explicitly “shall not have the force and effect of law.” § 1851(b). This is a far cry from

qualifying administrative oversight. See Arthrex, 594 U.S. at 13–14 (noting examples of

administrative oversight include “prescribing rules of procedure and formulating policies” to

control officers and deciding when adjudicators may hear a case, which adjudicators will hear a

case, and which past decisions bind future adjudicators). And no official controls in any way the

Council’s significant powers outside the two-step rulemaking process.



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       Second, no Council member is removable at will by a Senate-confirmed officer. The five

governor-designated members cannot be removed by the Secretary at all. § 1852(b)(1)(A). The

Regional Administrator is a career SES employee, AR11584–85, and so cannot be removed except

for cause, see 5 U.S.C. §§ 7541–43. The eleven governor-nominated members are removable by

the Secretary only “for cause” and only if two-thirds of the Council first seek removal of that

member or if the member violates certain financial conflict-of-interest provisions.

§ 1852(b)(6)(A)–(B).

       Third, the Council’s decisions cannot be countermanded by others in the Executive Branch.

If the Council’s policy is lawful, the Secretary must approve and promulgate it. This is like Arthrex.

There, the Patent and Trademark Office Director had to “take final action to cancel a patent claim

or confirm it” after the Administrative Patent Judge (“APJ”) issued a decision, but the substantive

final power to decide cases still resided with the APJ. 594 U.S. at 15. The APJ was a principal

officer; so too are the Council members.

       The Secretary also does not actually conduct the § 1854(a)–(b) review. Appointments

Clause supervision is not decided on formalities. See Arthrex, 594 U.S. at 18 (An officer’s formal

rank or technically greater responsibilities is irrelevant.). The Assistant Administrator reviewed

Amendment 56 and the Rule for lawfulness, not the Secretary. AR011423. This is the agency’s

standard operating procedure. See, e.g., 89 Fed. Reg. 28,679, 28,680 (Apr. 19, 2024) (“Pursuant

to [§1854(b)], the NMFS Assistant Administrator has determined that this final rule is consistent

with . . . applicable law.”); 89 Fed. Reg. 25,820, 25,821 (Apr. 12, 2024) (same); 89 Fed. Reg.

19,760, 19,761–62 (Mar. 20, 2024) (same); 89 Fed. Reg. 15,062, 15,063 (Mar. 1, 2024) (same);

89 Fed. Reg. 9072, 9073 (Feb. 9, 2024) (same). The Assistant Administrator is not Senate-




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confirmed. Reorganization Plan No. 4 of 1970 § 2(e)(1). Thus, no Senate-confirmed officer

conducts even the minimal review provided by the Act.

       Principal-officer review is even more starkly absent from the Council’s exercise of its other

significant powers. The Secretary cannot overrule the Council if it vetoes the Secretary’s actions

under § 1854(h) and (c)(3), § 1856(a)(3)(B), and 109 Stat. 366, Title VII § 802, or if the Council

forces the issuance of a regulation under § 1855(c)(2)(A) or the compulsory collection of

information under § 1383a(e)(4). Those Council actions are final. In fact, it is the Council which

supervises and controls the Secretary.

       The Council is not supervised or directed by a Senate-confirmed official. Thus, Council

members must be appointed as principal officers under Edmond.

                  2. Under Arthrex, Council members are principal officers and were not
                     properly appointed as such

       Council members also must be appointed as principal officers under Arthrex. As discussed

above, they have the final word with regard to emergency regulations, limited-access systems,

repeals of FMPs, state regulatory powers over fisheries, the collection of certain information under

the Marine Mammal Protection Act, and the approval and conditions of certain permits. See

§§ 1854(a)–(b), (h), (c)(3), 1855(c)(2)(A), 1856(a)(3)(B), 1383a(e)(4); Pub. L. 104-43, 109 Stat.

366, Title VII § 802. Each of these powers is therefore a “principal-officer power.” Arthrex, 594

U.S. at 17; Lofstad, 117 F.4th at 501 (holding council members are principal officers). The Council

members must be properly appointed to exercise them.

       Additionally, they have the final word on policy under the two-step rulemaking procedure,

especially for policy concerns outside the National Standards. This is also a principal-officer

power, and the Council members must be properly appointed to exercise it. See Arthrex, 594 U.S.

at 18 (inferior officers must be “directed . . . on matters of law as well as policy”).



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                                            *     *     *

       Council members are principal officers. Their seats must be filled by Presidential

nomination and Senate confirmation. The seventeen putative Council members here were not so

appointed. They never exercised lawful authority, and their adoptions of Amendment 56 and its

implementing rule were void.

             B. The putative Council members were not properly appointed as inferior
                officers either

       Council members are principal officers. But even if they were inferior officers, they would

still not be properly appointed. For inferior officers, Congress can authorize appointment by the

President alone, a head of department, or a court of law. See Art. II, § 2, cl. 2.

       The Magnuson-Stevens Act provides that five seats are to be designated by governors or

by the governors’ designees. § 1852(b)(1)(A). And the regional administrator is a career SES

official hired by a lesser official within the Department of Commerce, not by the Secretary of

Commerce. AR11583. These eight individuals were improperly appointed.

       But the eleven governor-nominated individuals are also not properly appointed as inferior

officers. Though they are nominally selected by the Secretary, who is a head of department, the

Secretary’s choice is restricted to governors’ nominees. § 1852(b)(2)(C). And governors may

nominate as few as “three individuals for each applicable vacancy.” Id. Critically, the Act forbids

the Secretary from rejecting a nominations list for a vacancy unless one of the nominees fails to

satisfy objective statutory qualifications. Id. The Secretary may not reject a nominations list

because of the individuals’ character, policy prescriptions, or likely faithfulness in executing the

law. Compare with Collins, 594 U.S. at 256 (The President must be able to exclude from his

officers “those who have different views of policy,” “those who come from a competing political

party,” and those he determines are “not intelligent or wise.” (simplified)). If the Secretary



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determines that a nominee is not qualified, she must wait for the governor to amend his

nominations; she cannot pick her own appointees. § 1852(b)(2)(C). Thus, any eventual appointee

must be a governor nominee.

       Such a nomination-and-confirmation procedure splits the appointment power between the

nominator and confirmer, see U.S. Const. art. II, § 2, cl. 2 (regarding appointment by Presidential

nomination and Senate confirmation), so the Act’s procedure gives a share of the appointment

power to governors in violation of the text of the Appointment’s Clause. Worse, as the government

itself argued in another case, the Secretary’s ability to influence a Council’s position “is limited

because the governors control the pool of available appointees.” Delta Com. Fisheries Ass’n v.

Gulf of Mexico Fishery Mgmt. Council, 364 F.3d 269, 271 (5th Cir. 2004). And because the

Secretary cannot reject nominees who “meet the qualifications,” the governors have “the primary

responsibility for” deciding “the composition of the interests represented by the Council.” Id., Br.

for the Fed. Appellees, 2003 WL 23783211, at *23–*24. Governors, however, may hold no part

of the appointment power under the Appointments Clause, so the eleven governor-nominated

individuals were improperly appointed even if they may be appointed as inferior officers.

             C. The Secretary’s rulemaking lacked the key statutory prerequisite; therefore,
                the rule is unlawful, and must be vacated

       Due to the Council’s structural defects, the Council never validly adopted Amendment 56

or the Rule. The Appointments Clause provides the “exclusive means” of filling officer positions

and officers that are not properly appointed act unlawfully. Lucia, 585 U.S. at 244. When an

individual’s selection does not conform to the Appointments Clause, his “appointment . . . to office

is deficient,” and he acts only “under the color of official title.” Ryder, 515 U.S. at 180. This is

because the statutory appointment provision, being “unconstitutional[,] . . . is never really part of

the body of governing law (because the Constitution automatically displaces any conflicting



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statutory provision from the moment of the provision’s enactment).” Collins, 594 U.S. at 259. The

result is that those individuals were not appointed to the office and “lack[] the authority to carry

out the functions of the office.” Id. at 258.

        The putative Council members were not properly appointed and so did not exercise lawful

authority. Therefore, the Council never presented NMFS with a valid amendment or regulation.

NMFS was thus obligated not to act on the measures submitted by the putative Council members

or, at most, it was obligated to formally reject them as unlawful. That is because without a validly

adopted FMP amendment and regulation from the Council, NMFS lacked the power under statute

to issue the Rule. See § 1854(b); 5 U.S.C. § 706(2)(A), (C), (D). The promulgation was also

contrary to constitutional right, in its assumption that the putative Council members validly held

Council seats, see § 706(2)(B), thereby violating both Plaintiffs’ individual constitutional rights to

be governed by accountably appointed policymakers and the structural imperative of the separation

of powers. Cf. Bond v. United States, 564 U.S. 211, 222 (2011) (“The structural principles secured

by the separation of powers protect the individual as well.”); see also Cirko v. Comm’r, 948 F.3d

148, 153 (2020) (citing Glidden Co. v. Zdanok, 370 U.S. 530, 536–37 (1962)). Plaintiffs are

therefore entitled to having the Rule and Amendment 56 “set aside.” § 1855(f)(1)(B); 5 U.S.C.

§ 706(2).

        Furthermore, even if some Council seats complied with constitutional requirements, if any

Council member is unconstitutionally appointed, then the Council is still improperly constituted,

with all the results noted above. The Court may not assume that members serving constitutionally

would have approved Amendment 56 and its implementing regulation in the absence of the

unconstitutional putative members. In Free Enterprise Fund, a firm being investigated by the

Public Company Accounting Oversight Board challenged Board members’ appointments. 561




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U.S. at 511–12. The firm argued that Board members’ appointments as inferior officers by the full

Securities and Exchange Commission were invalid because the Chairman, not the full

Commission, was the head of department. Id. The government responded that that was irrelevant,

as the Chairman had voted with the other Commissioners to appoint the Board members. Id. at 512

n.12. The Court, however, rejected the government’s argument because “[w]e cannot assume . . .

that the Chairman would have made the same appointments acting alone[.]” Id.

       Likewise, the Court may not assume that constitutionally serving Council members would

have adopted Amendment 56 and the implementing regulation “acting alone” and without the

influence of the unconstitutional, putative members. Free Enter. Fund, 561 U.S. at 512 n.12. As

the Court made clear in Seila Law, separation-of-powers plaintiffs are “not required to prove that

the Government’s course of conduct would have been different in a counterfactual world in which

the Government had acted with constitutional authority.” 591 U.S. 197, 211 (2020) (simplified).

       Indeed, as the D.C. Circuit held in FEC v. NRA Pol. Victory Fund, courts cannot assume

that members—even nonvoting members—of a multimember body “ha[d] no actual influence on

agency decisionmaking” and so were “constitutionally harmless.” 6 F.3d 821, 822, 826 (D.C. Cir.

1993), as amended (Oct. 25, 1993). Rather, the presumption is the opposite: because members of

multimember bodies are there “to exercise some influence,” courts must presume their presence

“ha[s] some impact (even though the extent of which may be impossible to measure).” Id. at 825,

826. This follows from the doctrine of structural violations under which violations of structural

protections are per se harmful and require reversal without a harmless-error analysis. See Brecht

v. Abrahamson, 507 U.S. 619, 630 (1993). As the D.C. Circuit has held, the structural-error

doctrine applies to “[i]ssues of separation of powers (including Appointments Clause matters),”

because “it will often be difficult or impossible for someone subject to a wrongly designed scheme




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to show that the design—the structure—played a causal role in his loss.” Landry v. FDIC, 204

F.3d 1125, 1131 (D.C. Cir. 2000).

       Thus, the Court should vacate the Rule and Amendment 56 even if only one Council

member was improperly appointed. If, however, the Court finds that 9 or more Council seats were

unconstitutionally filled, the Council lacked a quorum to adopt Amendment 56 or its implementing

regulation, § 1852(e)(1), and the Rule should be vacated for that reason as well.

       V.    Council members’ insulation from Presidential removal violates Article II’s
             Vesting and Take Care Clauses

       The Executive Vesting Clause, together with the Take Care Clause, grants the President

the power to remove officers. Every official “who exercise[s] significant authority” must be

“subject to” that “control.” Free Enter. Fund, 561 U.S. at 506. The Constitution thus ensures that

“[e]very individual, in the long chain which extends from the highest to the lowest link of the

Executive Magistracy,” is politically accountable through presidential removal—a power inherent

in “that great principle of unity and responsibility in the executive department.” 1 Annals of Cong.

515–16, 518 (June 17, 1789) (remarks of Rep. Madison). Only those with “limited duties” and “no

policymaking or administrative authority,” Seila Law, 591 U.S. at 218, may enjoy even “modest”

protections, see Collins, 594 U.S. at 225. The Framers designed Article II in this fashion to guard

against the great “danger to liberty” that lay in “the difficulty of displacing” entrenched executive

officials. 1 Annals of Cong. 515 (1789) (Rep. Madison).

       Accordingly, the Constitution’s default rule is that the President must be able to remove

officers at will. Seila Law, 591 U.S. at 202–205. There are two narrow exceptions to this general

rule. First, for a “multimember body of experts, balanced along partisan lines, that perform[]

legislative and judicial functions and [is] said not to exercise any executive power.” Id. at 216–17.




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Second, for “inferior officers with limited duties and no policymaking or administrative authority.”

Id.

        Even within those two categories, Congress cannot abrogate all presidential control. For

instance, in limited circumstances, Article II may tolerate for-cause protections. See Humphrey’s

Ex’r v. United States, 295 U.S. 602, 619 (1935). But when Congress imposes an extra layer of

such protection, it impermissibly interferes with presidential control over the Executive Branch.

See Free Enter. Fund., 561 U.S. at 495–96. In short, certain tenure-protection schemes are

inherently “inappropriate” for any official who is “wielding the executive power of the United

States.” Id. at 503.

              A. Council members fall within neither exception to the President’s
                 removal power

        The Council members must be subject to Presidential removal. They fall within neither

exception to the rule.

        The first exception, recognized in Humphrey’s Executor, requires that a multimember body

be balanced along partisan lines and exercise no executive power. See Selia Law, 591 U.S. at 216–

217. It applies only to “officers of the kind . . . under consideration” there. Id. at 215. Rulemaking

is not a “legislative” function but an executive one; legislative functions consist of “making

investigations and reports . . . for the information of Congress.” Humphrey’s Executor, 295 U.S.

at 628; Seila Law, 591 U.S. at 215–16.

        The Council members do not fit this exception. The Act lacks partisan-balance

requirements. Its members exercise the executive function of rulemaking. They do not exercise the

quasi-legislative functions of investigating or reporting to Congress and they do not exercise the

quasi-judicial function of adjudicating disputes.




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       The second exception, recognized in Morrison v. Olson, 487 U.S. 654 (1988), reaches only

“certain inferior officers with narrowly defined duties.” Seila Law, 591 U.S. at 204. In Morrison,

the Court upheld protections for the independent counsel—a prosecutor “appointed . . . to

accomplish a single” criminal investigation. Morrison, 487 U.S. at 672 (1988). The independent

counsel “lacked policymaking or administrative authority” because her power “was trained inward

to high-ranking Governmental actors identified by others, and was confined to a specified matter.”

Seila Law, 591 U.S. at 219.

       Council members do not fit this exception. First, they are principal officers. See supra, at

22–25. Even if they were inferior, they would still be unlike the independent counsel. Council

members exercise “policymaking . . . authority” that affects “private citizens and businesses”

across the country. Seila Law, 591 U.S. at 219–20. Their extensive “duties” under the Act “are far

from” the limited, time-bound, narrow-in-scope independent counsel.

       Neither exception applies. Council members must be removable at will. None are, and most

of the removal protections for Council members are near absolute. As the following section shows,

the Council’s removal protections violate Article II.

             B. The Act’s removal restrictions are unconstitutional even if the Council may
                enjoy some removal protections

       Even if an exception applied to permit Council members to enjoy removal protections, the

Magnuson-Stevens Act’s extraordinary and unprecedented removal protections are so strong as to

be unconstitutional for 16 of the 17 members. As the Court has stated, some removal standards

“may be inappropriate for officers wielding the executive power of the United States.” Free Enter.

Fund, 561 U.S. at 503.




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       First, the President cannot remove the Council’s five state officials at all. These members

serve “so long as” they occupy predicate state positions. 16 U.S.C. § 1852(b)(1)(A). No federal

official can remove these five officers.

       Second, the eleven Council members nominated by governors may be removed by the

Secretary only through one of two methods: (1) if two thirds of the Council agree, or (2) if these

members violate certain financial conflict-of-interests provisions. § 1852(b)(6)(A)–(B).

       The first removal method creates more than one layer of tenure protection and is

unconstitutional. To remove a Council member, the Secretary must first gain the assent of other

Council members, who are similarly protected. This method creates interminable layers of tenure

protection because it is recursive. The Secretary can only remove a Council member with the assent

of other Council members, none of whom can be removed without the assent of other Council

members, and so forth and so on. The result is that just over one third of the Council, if united, can

frustrate removal. This level of protection prevents the President from holding officers accountable

through removal.

       The second removal method is too limited. Removal provisions do not satisfy Article II

simply by allowing removal in a narrow circumstance. See Free Enter. Fund, 561 U.S. at 503

(noting that some removal standards may “be inappropriate for officers wielding the executive

power of the United States”). Instead, the Supreme Court has found “[t]he President must be able

to remove” all “officers who disobey his commands, those who he finds negligent and inefficient,

those who exercise their discretion in a way that is not intelligent or wise, those who have different

views of policy, those who come from a competing political party who is dead set against the

President’s agenda,” and any officer “in whom he has simply lost confidence.” Collins, 594 U.S.

at 256 (cleaned up).




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       What’s more, the second removal method would not permit removal even if a member

flagrantly abused his power, engaged in nepotism, or engaged in criminal malfeasance while in

office, so long as he scrupulously divulges his financial interests and recuses himself from

appropriate Council decisions. For example, so long as members avoid financial conflicts of

interests, they may openly violate every regulation-created rule that purports to govern their

conduct, see 50 C.F.R. § 600.225 (prohibiting abusing one’s office to interfere with an election,

restricting lobbying activities, forbidding adverse action against Council employees based on

political affiliation or activity, and prohibiting criminal and dishonest conduct), yet successfully

resist removal. The second pathway to removal therefore does not satisfy the Executive Vesting

and Take Care Clauses.

           C. The removal protections require the Rule’s vacatur

       The Act’s unconstitutional removal protections cannot be severed from the Council

members’ powers. The governor designees have no tenure-protection provision to sever at all; their

protection arises from the fact that the statute simply requires that they “shall be” on the Council.

§ 1852(b)(1). And the Regional Administrator’s removal protections stem from his career civil-

service protections arising from outside the Act, the severance of which would have significant

repercussions across the civil service and would not have been preferred by Congress. See Seila

Law, 591 U.S. at 234 (holding that severance may not create “legislation that Congress would not

have enacted” (simplified)). Nor should the Court sever the governor nominees’ removal

protections; their strength and complexity indicate that Congress strongly preferred these

members’ independence in formulating fisheries policy.

       Because the removal protections cannot be severed from these Council members’ powers,

their powers cannot be lawfully exercised. See Free Enter. Fund, 561 U.S. at 513 (holding that the




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plaintiffs were “not entitled to broad injunctive relief” because the unconstitutional removal

protection at issue could be severed); Seila Law, 591 U.S. at 232–33 (concluding that whether “the

removal protection was severable” was “essential” to determining whether “the CFPB may

continue to exist and operate”).6 Furthermore, as explained above in the discussion regarding Free

Enterprise Fund, NRA, and the doctrine of structural violations, if even one seat’s removal

protections cannot be severed, the Council as a whole is improperly structured and the Rule must

be vacated.

                                          CONCLUSION

       For all these reasons, the Secretary lacked authority to adopt Amendment 56 and the Rule.

Plaintiffs respectfully request that the Court vacate the Final Rule.




Dated: November 26, 2024.

                                                       Respectfully submitted,

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  Collins is not to the contrary. First, Collins indicated that a plaintiff seeking monetary
“retrospective relief” must show “compensable harm” stemming from the officer’s insulation from
removal, but it did not cast doubt on the availability of a prospective injunction, vacatur, or
declaratory relief. See Collins, 594 U.S. at 257, 259. Furthermore, Collins’s remedial analysis
implicitly depended on the severability of the removal protection from the powers exercised. See
id. at 258 n.23 (concluding that “the unlawfulness of the removal provision does not strip the
Director of the power to undertake the other responsibilities of his office”).

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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 26, 2024, I electronically filed the foregoing document

with the Clerk using the CM/ECF system, which will send notice of such filing to counsel of record

who are registered with CM/ECF.




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